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Yardi Systems, Inc., a California
company,

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Plaintiff,

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RealPage, Inc., a Delaware

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Defendants.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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COMPLAINT AND DEMAND FOR
JURY TRIAL FOR:
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COMPUTER FRAUD AND ABUSE >

‘| ACT (18 U.S.C. §§ 1030 et seq.);

(2) VIOLATIONS OF THE
COMPREHENSIVE COMPUTER
DATA ACCESS AND FRAUD ACT
(CAL. PENAL CODE § 502);
(3) VIOLATIONS OF THE DIGITAL
MILLENNIUM COPYRIGHT ACT
(17 U.S.C. § 1201 ef seq.);
(4) COPYRIGHT INFRINGEMENT:
(17 U.S.C. § 101 et seqg.);
(5) TRADE SECRET
MISAPPROPRIATION (CAL. CIV.
CODE §§ 3426-3426.11); AND

6) UNFAIR COMPETITION (CAL.
BUS. & PROF. CODE § 17200 et seq.)

 
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Plaintiff Yardi Systems, Inc. (“Yardi’”), by and through its attorneys, .
submits the following Complaint and Jury Trial Demand against Defendants
RealPage, Inc. (“RealPage’’) and DC Consulting, Inc. (“EverGreen”) (collectively
referred to as “Defendants”). | |

INTRODUCTION
1. Yardi brings this case to stop its competitor RealPage from

wrongfully infiltrating Yardi’s password-protected internal website, altering

-Yardi’s confidential internal data, and illegally downloading Yardi’s copyrighted

and trade secret software, software manuals, price lists, and other confidential
information. .

2. For almost thirty years, Yardi has been a leading developer of
database and application software for real estate and property management clients.
Its integrated suite of software products for this market, and the related services it
provides, have earned Yardi a reputation for quality throughout the real estate and
property management industry.

3. Defendant RealPage competes with Yardi for clients of
property management software and related services. In 2009, unable to compete
with Yardi on its own, RealPage acquired Defendant EverGreen.' At the time,
EverGreen was best known for providing technology and software support setvices
almost exclusively for users of Yardi software. As a then-member of the Yardi

Independent Consultant Network, EverGreen had access to Yardi’s confidential,

_ proprietary, and copyrighted information pursuant to a strict confidentiality

agreement. It also had access to Yardi’s password-protected client support

website, called Client Central. EverGreen also employed (and still employs)

 

' Prior to the acquisition, EverGreen called itself “EverGreen Solutions, Inc.” It
then sold the name EverGreen to RealPage, which continues.to operate a division
by that name as a continuation of the EverGreen Solutions, Inc. enterprise, The
corporate entity previously called EverGreen Solutions, Inc. exists today as DC
Consulting, Inc.
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former Yardi employees — including EverGreen’s current Chief Technology
Officer — with knowledge of Client Central’s structure and the location of
proprietary, trade secret information on Client Central. |

4. _Yardi terminated EverGreen’s access to Client Central when it
learned about EverGreen’s imminent acquisition by RealPage. Yardi then warned
RealPage and EverGreen in writing to respect Yardi’s confidential information and
intellectual property. |

5.  RealPage and EverGreen ignored Yardi’s warnings. Instead,

RealPage announced that it would use EverGreen to service and support Yardi

Voyager clients. On information and belief, to do so, RealPage knew it would

exploit the Yardi confidential information that Evergreen had by virtue of its prior
status as an authorized member of the Yardi Independent Consultants network.

6. To meet its commitments to the market, RealPage also wanted,
for its own competitive use, ongoing access to Yardi’s confidential, copyrighted,
and trade secret information. Unwilling to replicate Yardi’s effort to develop this
material independently, RealPage instead chose to circumvent the access controls
on Client Central. Since the EverGreen acquisition, Defendants continually have

accessed Client Central using a variety of credentials they have stolen from Yardi.

These credentials include ones belonging to certain high-ranking Yardi employees

whose credentials give them special access to the most protected information
stored in Client Central. This protected information includes additional.
confidential credentials of other Yardi employees, Yardi clients, and members of
the Yardi Independent Consultant Network. Defendants have taken and used these

Yardi employee, Yardi client, and independent consultant credentials to steal

Yardi’s trade secret and copyrighted software and related support documentation,

price lists, and other proprietary information, and to alter the confidential data
stored in Client Central. On information and belief, Defendants have used the

illicit copies and proprietary, trade secret information taken from Client Central to
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enhance RealPage’s own software offerings and to unfairly compete with Yardi.
7... Yardi’s intellectual property and proprietary data are the
cornerstone of its business. While Yardi welcomes fair competition, if RealPage

chooses to service Yardi customers, it must do so without stealing Yardi’s

- intellectual property.

THE PARTIES

8. Plaintiff Yardi is a private, California corporation with its

principal place of business in Goleta, California. Yardi designs, develops, licenses,

hosts, manages, and supports software programs for managing real estate
investments and properties. | |

9. Defendant RealPage is a publicly-traded Delaware corporation
with its principal place of business in Carrollton, Texas. RealPage competes with

Yardi in the design, development, and support of software programs for managing

real estate investments and properties.

10. Defendant EverGreen is a subsidiary or division of RealPage
with its principal place of business in the District of Columbia. According to
public filings, RealPage acquired substantially all of EverGreen’s assets in
September 2009. As part of RealPage, EverGreen provides technological
consulting and software support services for RealPage’s clients that also use Yardi
software. Prior to its acquisition by RealPage, EverGreen was a member of the
Yardi Independent Consultant Network, described in more detail below.

11. Defendants all do business in, and/or have directed their
activities at, California, and specifically this judicial district. For example,
RealPage and EverGreen advertise, promote, sell, license, service, and support
clients in California and in this judicial district. Further, Defendants have accessed
and downloaded copyrighted and trade secret materials from Yardi’s Client Central
servers, which are located in this district.

12. Atall material times, each Defendant was the agent, partner,
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representative, subsidiary, parent, affiliate, alter ego, or co-conspirator of the
others, had full knowledge of and gave substantial assistance to the alleged
misconduct, and, in doing the things alleged, each was acting within the scope of
such agency, partnership, representation, affiliation, or conspiracy. Each is legally -
responsible for the acts and omissions of the others.

JURISDICTION AND VENUE

13. Yardi’s first cause of action arises under the Computer Fraud
and Abuse Act, 18 U.S.C. § 1030 et seg. Its third cause of action arises under the |
Digital Millennium Copyright Act, 17 U.S.C. § 1201 ef seq. Its fourth cause of
action arises under the Copyright Act, 17 U.S.C. § 101 et seg. Accordingly, this
Court has subject matter jurisdiction over this action pursuant to 18 U.S.C.

§ 1030(g), 28 U.S.C. § 1331, and 28 U.S.C. § 1338.

| 14. This Court has supplemental subject matter jurisdiction over the
pendent state law claims pursuant to 28 U.S.C. § 1367 because these claims form
part of the same case or controversy as the claims brought pursuant to the
Computer Fraud and Abuse Act and the Digital Millennium Copyright Act and
derive from a common nucleus of operative fact. .

15. This Court also has subject matter jurisdiction over all the
claims in this action pursuant to 28 U.S.C. § 1332, as Yardi and all Defendants are
citizens of different states and the amount in controversy exceeds the sum or value
of $75,000, exclusive of interest and costs.

16. Venue is appropriate in this district, pursuant to 28 U.S.C.

§ 1391, because a substantial part of the events giving rise to the dispute occurred
in this district, a substantial part of the property that is the subject of the action is
situated in this district (including Yardi’s Client Central servers, which Defendants
improperly accessed and from which they downloaded Yardi’s copyrighted and

trade secret materials), and the Court has personal jurisdiction over each of the

_ parties as alleged throughout this Complaint.

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FACTUAL ALLEGATIONS
Background

17. Yardi began as a modest start-up in 1982 with a single software
offering and a single client. Since then, Yardi has grown to become the global
leader in asset and property management solutions, servicing more than 15,000
businesses representing seven million residential units and seven billion square feet
of commercial space in the United States, Canada, Europe, Asia, and Australia.
Yardi now employs over 1,900 professionals in offices around the world.

18. Yardi’s flagship enterprise software product, Yardi Voyager

_ (“Voyager”), is a fully-integrated, web-based, enterprise management system

designed for property owners, managers, and investors in global real estate
markets. Yardi offers Voyager solutions designed to meet the specific

requirements of every real estate market, including commercial (office, retail,

industrial), multifamily housing, affordable housing, senior housing, public

housing, military housing, investment management, association management, and

student housing.

19. Yardi also licenses its Yardi Genesis product (“Genesis”), a

fully-integrated accounting and property management software system for mid-size

residential, commercial, industrial, retail, and condominium/co-operative

properties. |
20. In addition to Voyager, Genesis, and other software products,
Yardi offers its clients add-on products and service modules that integrate with
each other to provide complete property management services. These products,
which include payment processing, utility billing, call centers, portals, resident
screening, and many others, allow Yardi clients to customize their software and
business solutions to best address their needs.

21. Yardi clients sometimes desire assistance with their licensed

software, add-on products, or service modules. A client may choose, consistent
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with the client’s license agreement, to work with an independent consultant. To
promote and facilitate its clients’ wishes to work with such independent |
consultants, Yardi occasionally enters into cooperation, consulting, and/or non-
disclosure or confidentiality agreements with certain independent consultants.

These independent consultants constitute the Yardi Independent Consultant

Network.

22. For almost all of its software systems, add-on products, or add-
on service modules, Yardi creates detailed, technical accompanying documentation

in the form of user guides, release notes, and other written materials

(“Documentation”). Yardi spends enormous time and resources researching, —

developing, writing, improving, acquiring the technology for, and integrating its
software systems, add-on products, add-on service modules, and associated
Documentation. Yardi faces substantial competition from RealPage and other
companies. The confidential and trade secret information in Yardi’s software
products and related Documentation is valuable because it allows Yardi to compete
effectively and advantageously. Yardi is the exclusive owner and copyright holder
of all the software systems, add-on products, add-on service modules, and
Documentation that it offers to its clients.

23. The Documentation explains, with detailed references to the
underlying software, how to customize and use the specific Yardi software
product. The Documentation includes details about the logic, design, inputs,
methods, functionality, value, upgrades, and operation of the software product.
Often, the guides provide screenshots and other excerpts from the underlying
software product. The Documentation includes information resulting from the
years of effort and great expense it has taken Yardi to develop its software to
contain the features that are specific to property management and each of Yardi’s
target markets.

24. For example, Yardi International Management has hundreds of
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features unique to international properties, as opposed to other properties, such as~
domestic commercial, senior, or affordable housing. Yardi’s years of experience
and efforts to understand these unique features, and its translation of these features
into its Voyager International Management software and accompanying
Documentation, reflect trade secrets that give Yardi a competitive advantage.

25. The Documentation contains sufficient detail about Yardi’s
software, including the features specific to each of Yardi’s target markets, that a
competitor could use the Documentation substantially to shortcut the effort
otherwise required to understand those features. Doing so could result in the
development of a competitive product at a fraction of the time and expense
invested by Yardi. — |

26. To protect its Documentation, Yardi designates it as
copyrighted, confidential, and trade sécret, and provides it only to clients and
consultants pursuant to licenses or other contracts with strict confidentiality
provisions. Yardi’s employment agreements and Employee Handbook, to which
Yardi employees must agree, also contain confidentiality provisions that remain in
effect even after an employee’s termination. For instance, the Employee |
Handbook generally prohibits the disclosure of “confidential information,”
including without limitation, “company financial information, data or reports,
customer account or contract information; competitive secrets; or any other
information that might compromise the company or our employees [including]
intellectual property, product algorithms, and source code.”

27. Yardi provides clients and consultants with access to its
software and Documentation through a password-protected website called Client
Central. When a client licenses Yardi software, or when a consultant contracts to
become a member of the Yardi Independent Consultant Network, Yardi issues a
unique credential for use in accessing Client Central, consisting of a unique user

name and password (“Credential”). As evidenced by the log-on screen on Client
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Central, a user is only authorized to search for, read, and download Yardi software
and Documentation available on Client Central after the user has logged in with a
valid Credential issued to that user. These Credentials are valuable because they
provide access to Yardi’s copyrighted and trade secret information, and because
they are restricted (outside of Yardi personnel) to licensees and authorized
consultants.

28. Different Credentials provide different levels of access within
Client Central. For example, Credentials issued to clients and consultants allow
access to certain Documentation and software, but not to portions of Client Central
restricted to- internal use by Yardi employees. The restricted portions of the site,
sometimes called Client Central Employee Resources, are visible to, and accessible
by, only Yardi employees based on their unique and confidential Credential. Only

a user logging in with a Yardi employee Credential will be able to see or access

those. portions of the site. The Client Central Employee Resources section of the

site contains highly proprietary, confidential, and trade secret Yardi information.
This information includes the Yardi client and consultant database and detailed
information about Yardi’s services, sales practices, client tools, internal

procedures, and product pricing. As an example, Yardi’s price lists, available on

Client Central only to Yardi employees, are a valuable collection of detailed data

about all of Yardi’s products that Yardi uses to negotiate contracts and pricing
specific to the unique needs of its customers. With access to these price lists, a
competitor could more effectively direct its sales efforts to potential customers that
were also considering or using Yardi products.

29. The most restricted level of the Client Central Employee
Resources area includes the Site Control Center, referred to below as the “Vault.”
Only a small handful of Yardi employees’ Credentials allow access to the Vault.
The Vault contains highly proprietary, confidential, and trade secret Yardi

information, including the Credentials of all Yardi employees, clients, and
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consultants. Access to the Vault also permits a user to update or change sensitive
client and consultant data. |
Defendants’ Unauthorized Access To, and Downloading From, Client Central

30.. On or about September 23, 2009, RealPage, Yardi’s main
competitor in the multi-family market segment, acquired EverGreen. At the time,
according to industry analysts, EverGreen was the largest consultant for Yardi
products. Analysts believed EverGreen’s familiarity with Yardi clients, products,
and services would serve as an “entry point,” giving RealPage “the ability to sell
its solutions into Yardi’s large base of residential units,” and that “(targeting the
Yardi base in this way is clever.”

31. Yardi learned of the potential acquisition shortly before it was
finalized. Because RealPage competes directly with Yardi, Yardi became
concerned about EverGreen’s knowledge of and access to Yardi’s software,
Documentation, and other confidential intellectual property and trade secrets. To

protect itself, on September 3, 2009, Yardi terminated its cooperation agreement

with EverGreen in writing, and informed EverGreen that its access to Yardi’s

support systems, including Client Central, was also terminated. Yardi has never
issued Client Central Credentials to RealPage.

32. On information and belief, despite knowing that EverGreen no
longer had Yardi’s permission to access Client Central, RealPage nonetheless
completed its acquisition of EverGreen’s assets, including its employees. On
information and belief, it did so knowing that, without any form of authorized
access, Defendants would instead choose to force their way into Yardi’s systems.
To gain access to Client Central, Defendants circumvented the access restrictions
on Client Central and obtained unauthorized, illegal access to the Vault. Once
inside, Defendants altered the data in the Vault, including, on information and
belief, by deleting and creating Client Central Credentials. From inside the Vault,

Defendants took an assortment of confidential Credentials belonging to Yardi
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employees, clients, and consultants. Defendants used these Credentials to access

Client Central from internet protocol (IP) addresses registered to and/or used by
Defendants at locations in or near their offices. From these locations, Defendants
used an assortment of Yardi employee, client, and consultant Credentials to access
Client Central and to download copies of Yardi’s copyrighted and trade secret
software, Documentation, and price lists.

| 33. By way of example only, on April 1, 2010, some person logged
into Client Central using the Credential of Yardi Senior Vice President Terri
Dowen (user ID “terrid”) from the IP address 70.184.249.191. On information and |

belief, that IP address belongs to one of Defendants’ satellite offices or employees

‘in the vicinity of Tulsa, Oklahoma. Ms. Dowen was not in Oklahoma on April 1,

2010, and has never provided her Credential to any Defendant. With her

Credential, the user accessed and downloaded Yardi’s internal price lists for all of

Yardi’s products.
34. Similarly, on May 5, 2010, some person logged into Client

Central using the Credential of Yardi Senior Vice President J ohn Pendergast (user
ID “johnp’’) from the 76.115.144.5 IP address. On information and belief, that [P
address belongs to one of Defendants’ satellite offices or employees in the vicinity

of Eugene, Oregon. Mr. Pendergast was not in Oregon on May 5 and has never

~ provided his Credential to any Defendant. With his Credential, this user accessed

and downloaded Yardi’s internal price lists.

35. As another example, on November 4, 2010, some person

logged into Client Central using the Credential of Yardi employee Jackie Mills

(user ID “jackiem”) from the IP address 71.56.157.127. On information and belief,
that IP address belongs to one of Defendants’ satellite offices or employees in the
vicinity of Eugene, Oregon. Ms. Mills was not in Oregon on November 4, 2010,
and has never provided her Credential to any Defendant. Defendants used Ms.

Mills’ Credential to access and download several pieces of copyrighted and trade
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secret Documentation for the latest release of Yardi’s Voyager 7.0 software. A
competitor with access to these and similar materials could reverse-engineer the
unique functionality of Yardi’s software, which took Yardi years to develop. It
also could gain an unfair competitive advantage by using Yardi’s confidential
intellectual property not otherwise available to the competitor to focus its
marketing and sales efforts against competing Yardi products. .

36. Defendants took and used Yardi client and consultant
Credentials too, likely in an effort to make their illegal access appear normal, and
to thereby obscure their tracks. By way of example only, on October 7, 2010, a
user from the IP address 71.166.161.111, which on information and belief belongs

to one of Defendants’ satellite offices or employees in the vicinity of Washington,

 D.C., logged into Client Central with the “dts” Credential, which Yardi had issued

to Yardi consultant Darlene Sears. Ms. Sears was not in Washington, D.C. on
October 7, 2010, and has never provided her Credential to any Defendant. The
user then downloaded a Voyager Debt Mortgage User’s Guide. The first page of

this manual included a notice, which read in part:

This product or document is protected by copyright and
distributed under licenses restricting its use, copying,
distribution, and decompilation. No part of this product
or document may be reproduced in any form by any
means without prior written authorization of Yardi
Systems, Inc. and its licensors, if any.

Defendants had no authorization from Yardi to copy this manual. A competitor
could use the detailed information contained in this manual to develop a competing

software product at a fraction of the cost required to create this program

independently, as Yardi did.
37. By way of further example, on November 10, 2010, a user from

the same 71.166.161.111 address logged into Client Central with the “dts”

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Credential and downloaded a Voyager International User’s Guide, which included
the same copyright notice as in the preceding paragraph. Ms. Sears was not in
Washington, D.C. on November 10, 2010. Defendants had no authorization from
Yardi to copy these materials on November 10, 2010. Yardi spent over seven |
years creating the specific functionality contained within its International program.
Access to this detailed manual would allow a competitor to reverse-engineer
critical International-specific functions without devoting the time or resources that
Yardi did. |

38. Users from IP addresses belonging to Defendants also
download materials related to products Defendants do not even service. On
information and belief, neither Defendant has ever serviced Yardi International
software. Yet, (as one example), on November 4, 2010, some person logged into
Client Central using the “jackiem” Credential from the IP address 71.56.157.127
and downloaded a Voyager International User’s Guide (Version 7.0) and a
Voyager International Currency User’s Guide (Version 7.0). Less than a week
later, on November 10, 2010, a user using the “dts” Credential from the IP address
71.166.161.111 downloaded a Voyager International User’s Guide (Version
6.08.22). Defendants have no license to (or apparent legitimate business use for)
the International User’s Guides they downloaded. They also have no license or
right to use Ms. Sears’ credential.

39. When users log in with Yardi client Credentials, they also
download materials related to products not licensed to those clients. For example,
on January 3, 2011, just days after Yardi posted its year-end instructional
materials, a user from an IP address believed to belong to RealPage (71.154.18.2), .
using the Credential of Jessica Brock (user ID “jbrock”) of Yardi client
Progressive Development, Inc. (“PRI”), downloaded Yardi’s Enterprise 1099 _
Installation Utility and QuickSteps and Enterprise 2010 End-of-Year Procedures

Guide. However, as a Voyager client, PRI has no license to (or legitimate business
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use for) the Enterprise materials downloaded with its Credential. _

40. Inall, Defendants appear to have engaged in a widespread
pattern of gaining unauthorized access to Yardi’s Vault, stealing Yardi Credentials
from it (or obtaining them by other illicit means), and then using those Credentials
routinely to access additional confidential and trade secret information and to make
illegal downloaded copies of Yardi’s copyrighted and trade secret Documentation.
To date, Yardi has identified more than two. hundred log-ins to Client Central by
Defendants from multiple IP addresses in various locations believed to. be
associated with Defendants, and multiple Credentials that Defendants have

apparently taken from Yardi and used from these multiple IP addresses. All told,

_ Defendants have illegally downloaded over one hundred individual Documentation

files.

41. Defendants are fully aware they have no authorization to obtain
or use Yardi employee Credentials, access restricted portions of Client Central
(including the Vault), or download unlicensed Yardi Documentation or other Yardi

proprietary and trade secret information. At the time of the illegal access and

downloads, neither RealPage nor EverGreen had a valid Credential from Yardi of

its own. Moreover, after RealPage acquired EverGreen, Yardi explicitly withdrew
its permission for EverGreen to access Client Central and Yardi’s confidential
information. Further, there is no possibility that RealPage and EverGreen
employees, who include former Yardi employees with specific knowledge about
Yardi’s policies, could reasonably have believed they were authorized to access
and use Yardi’s confidential and trade secret information. Neither RealPage nor
EverGreen can claim permission to access the internal Yardi portions of Client

Central. No one other than a Yardi employee ever has legitimate access to those

areas.

Defendants’ Competitive Use of the Illegal Access and Copies

42. After EverGreen’s acquisition, and despite Defendants’ lack of
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legitimate access to Client Central and Yardi’s confidential information,
Defendants nevertheless successfully convinced several existing Yardi clients to
become RealPage clients. These clients include Pinnacle, Riverstone, and PRI.
On information and belief, Defendants’ illicit knowledge of and access to Yardi’s
trade secret and copyrighted materials helped them win these clients, and they
needed that illicit access and knowledge to fulfill their claims that they are able to
host and support Yardi software. | |

43. Yardi’s process of software development is an iterative process
of perfecting trade secret data models, user interfaces, and process workflows. A
competitor with access to Yardi’s trade secret specifications, data models, user
interfaces, and process workflows would significantly advance the development
cycle of the competitor’s analogous product, allowing it to compete much earlier in
the market and reduce or eliminate Yardi’s competitive advantage.

44. For example, Yardi has spent over seven years developing its
International Property Management software (first released in 2002) and five years
completing its Budgeting & Forecasting product (first released in 2002). Each |
year, Yardi improves these products to better suit the needs of its clients.

45. After RealPage acquired EverGreen, RealPage began
expanding its own software offerings to match Yardi’s, releasing its own
International and Budgeting & Forecasting systems in 2010. Defendants released
these competing products during the time they had illegal access to Yardi’s most
valuable competitive information and trade secrets about Yardi’s analogous
products. On information and belief, Defendants have used Yardi’s confidential
information and trade secrets to enhance their own software offerings and to
improve their competitive positioning against Yardi in the market. In other words,

RealPage is competing with Yardi by using Yardi’s own intellectual property

against it — the epitome of unfair competition.

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Case 2:11-cv-00690-ODW-JEM Document1 Filed 01/24/11 Page 16 of 33 Page ID #:25

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FIRST CLAIM FOR RELIEF
Violation of Federal Computer Fraud and Abuse Act
(18 U.S.C. §§ 1030(a)(2)(C), (a)(4) & (a\(5))
(Against All Defendants)

46. Yardi incorporates by reference each of the allegations in the

_ preceding paragraphs of this Complaint as though fully set forth here.

47. Defendants have violated the Computer Fraud and Abuse Act,
18 USC. § 1030(a)(2)(C), by intentionally accessing a computer used for
interstate commerce or communication, without authorization or by exceeding
authorized access to such a computer, and by obtaining information from such a
protected computer.

48. Defendants have violated the Computer Fraud and Abuse Act,
18 U.S.C. § 1030(a)(4), by knowingly, and with intent to defraud Yardi, accessing
a protected computer, without authorization or by exceeding authorized access to
such a computer, and by means of such conduct furthered the intended fraud and |
obtained one or more things of value, including but not limited to Yardi’s trade
secrets and copyrighted materials.

49. Defendants have violated the Computer Fraud and Abuse Act,
18 U.S.C. § 1030(a)(5)(A), by knowingly causing the transmission of a program,

information, code, or command, and as a result of such conduct, intentionally

causing damage without authorization to Yardi’s protected computer.

50. Defendants have violated the Computer Fraud and Abuse Act,
18 U.S.C. § 1030(a)(5)(B), by intentionally accessing Yardi’s protected computers
without authorization, and as a result of such conduct, recklessly causing damage
to Yardi. .

51. Defendants have violated the Computer Fraud and Abuse Act,
18 U.S.C. § 1030(a)(5)(C), by intentionally accessing Yardi’s protected computers

without authorization, and as a result of such conduct, causing damage and loss to
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Case 2:11-cv-00690-ODW-JEM Document 1 Filed 01/24/11 Page 17 of 33 Page ID #:26

Yardi.

52. The computer system or systems that Defendants accessed as
described above constitute a “protected computer” within the meaning of 18
U.S.C. § 1030(e)(2).

| 53. Yardi has suffered damage and loss by reason of these

violations, including, without limitation, harm to its computer systems and
confidential data, impairment to the security of Yardi’s systems and the integrity of
its confidential Credentials, investigative and remedial time, labor, and expenses,
and other losses and damage in an amount to be proved at trial, but, in any event,
in an amount well over $5,000 aggregated over a one-year period.

54. Defendants’ unlawful access to and theft from Yardi’s
computers have caused Yardi irreparable injury. Unless restrained and enjoined,
Defendants will continue to commit such acts. Yardi’s remedies at law are not

adequate to compensate it for these inflicted and threatened injuries, entitling Yardi

- to remedies including injunctive relief as provided by 18 U.S.C. § 1030(g).

SECOND CLAIM FOR RELIEF
Violation of Comprehensive Computer Data Access and Fraud. Act |
(Cal. Penal Code § 502)
(Against All Defendants)

55. Yardi incorporates by reference each of the allegations in the
preceding paragraphs of this Complaint as though fully set forth here.

56. Defendants have violated California Penal Code § 502(c)(2) by
knowingly and fraudulently, and without permission, accessing, taking, copying,
and making use of Documentation, data, and materials from Yardi’s computers,
computer systems, and/or computer networks.

57. Defendants have violated California Penal Code § 502(c)(3) by

knowingly, fraudulently, and without permission accessing and using Yardi’s
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Case 2:11-cv-00690-ODW-JEM Document1 Filed 01/24/11 Page 18 of 33 Page ID #:27

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entitled to injunctive relief.

computer services.

58.. Defendants have violated California Penal Code § 502(c)(6) by
knowingly, fraudulently, and without permission providing, or assisting in
providing, a means of accessing Yardi’s computers, computer systems, and/or
computer networks.

| 59. Defendants have violated California Penal Code § 502(c)(7) by
knowingly, fraudulently, and without permission accessing, or causing to be
accessed, Yardi’s computers, computer systems, and/or computer networks.

60. Yardi owns certain materials that comprise trade secret
Documentation, price lists, and other information, obtained by Defendants as
alleged above. .

61. Asa direct and proximate result of Defendants’ unlawful
conduct within the meaning of California Penal Code § 502, Defendants have
caused damage to Yardi in an amount to be proven at trial. Yardi is also entitled to
recover its reasonable attorneys’ fees pursuant to California Penal Code § 502(e).

62. Yardi is informed and believes that Defendants’ acts were

willful and malicious, including because they were done with the deliberate intent

to injure Yardi’s business and improve their own. Yardi is therefore entitled to
punitive damages.
63. Yardi has also suffered irreparable injury from these acts. Due

to the continuing threat of such injury, Yardi has no adequate remedy at law and is

| THIRD CLAIM FOR RELIEF
Violations of the Digital Millennium Copyright Act
(17 U.S.C. § 1201 ef seq.)
(Against All Defendants)
64. Yardi incorporates by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.
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Case 2:11-cv-00690-ODW-JEM Document1 Filed 01/24/11 Page 19 of 33 Page ID #:28

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65. Yardi employs certain technological measures, including the

"use of access-specific Credentials and the issuance of those Credentials only to

employees, licensed clients, and contracted consultants, that (1) effectively control —

access to different parts of Client Central, and (2) effectively protect Yardi’s rights

in the copyrighted materials available only through certain parts of Client Central.
66. Defendants circumvented Yardi’s technological measures

and/or provided the means to do so by (1) obtaining Client Central Credentials

without authorization, and/or (2) using those Credentials, or Credentials obtained

by other improper means, to access Client Central without authorization.

Defendants used these circumvention measures to access portions of Client Central

which Defendants could not have accessed without use of one of a small number of
special Yardi employee Credentials. Defendants further used these circumvention
measures to obtain additional Credentials and used those additional Credentials to

circumvent the access restrictions on Client Central in order to access and

download Yardi’ s copyrighted Documentation.

67. Asaresult of Defendants’ wrongful acts, Yardi has suffered
and will continue to suffer damages to be proven at trial. Yardi is further entitled
to recover from Defendants all profits attributable to Defendants’ wrongful acts, to
be proved at trial. Alternatively, upon its election at any time before final
judgment is entered, Yardi is entitled to recover statutory damages pursuant to 17
U.S.C. § 1203.

68. Defendants’ circumventions have also caused Yardi irreparable
injury. Unless restrained and enjoined, Defendants will continue to commit such
acts. Yardi’s remedies at law are not adequate to compensate it for these inflicted
and threatened injuries, entitling Yardi to remedies including injunctive relief as

provided by 17 U.S.C. § 1203.

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FOURTH CLAIM FOR RELIEF
| Copyright Infringement
(17 U.S.C, § 101 et seq.)
(Against All Defendants)
69. Yardi incorporates by reference each of the allegations in the
preceding paragraphs of this Complaint as though fully set forth here.
70. Yardi owns a valid and enforceable copyright in all its software

and Documentation, including the materials copied by Defendants, which are

_ creative works of original authorship. Yardi has applied to the Register of

Copyrights for Certificates of Registration that cover examples of the copyrighted
materials taken and copied by Defendants, as listed in the table below. Yardi is in
the process of applying for and obtaining additional relevant copyright
registrations and will amend this Complaint to include those additional

registrations.

| Yardi Genesis Property © 1/20/2011
1 Management User’s Guide
(Version 5.1.03) -  1-542591473

 

| Yardi Voyager International 1/20/2011

2 Currency User’s Guide (Version
7.0) 1-542591547

 

Yardi Voyager International User’s 1/20/2011
Guide (Version 7.0) 1-542591569

 

Yardi Investment Management: 1/20/2011
4 Capital Calls, Distributions, and
Revaluations Feature Guide

 

 

 

 

 

 

 

(Voyager 7.0) 1-542591591 .
5 Yardi Investment Management 1/20/2011
User’s Guide (Voyager 7.0) 1-542693613
Yardi Voyager Contacts, 1/20/2011
6 Notifications, and Workflows
User’s Guide (Version 7.0) 1-542693667

 

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Yardi Voyager Fixed Assets User’s|.

    

 

 

 

 

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(Budgeting & Forecasting Version
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Guide (Version 7.0.5.0.67) 1-542693699

g Yardi Voyager Forecasting User’s — 1/20/2011
Guide (Version 7.0) — 1-542693731 . :
Voyager. Maintenance Service 1/20/2011

9 Contract User’s Guide (Version
70.6 Plug-in v1) 1-542693763

10 _| Yardi PortfolioVMF User’s Guide 1/20/2011

| (Version 7.0) 1-542693785
U New Features in Voyager 7.0 1-542693847 1/20/2011
Voyager: Yardi Systems, Inc... 1/20/2011

12 — | Release Notes (Voyager 706 . OS
General Ledger Plug-In 2) 1-542693889 -

Voyager Work Orders User’s | 1/20/2011

13. | Guide (Version 7.0.06
Maintenance Plug-in v1) 1-542693951
Yardi Voyager Custom Financial 1/20/2011

14 | Analytics Reporting User’s Guide
(Version 6.0.08) 1-542694005

15 Yardi Voyager Debt-Mortgage . 1/20/2011
User’s Guide (Version 6.0.08) 1-542694027

16 Yardi Voyager International User’s oo, 1/20/2011
Guide (Version 6.0.08.22) - 1-542694049

7 Yardi Enterprise 2010 End-of-Year 1-546956204 1/20/2011
Procedures Guide

18 Yardi Voyager 2010 End-of-Year 1-546956226 1/20/2011

"| Procedures Guide

19 _ | Enterprise 1099 Installation Utility 1-546956565 1/20/2011
and QuickSteps (2010)

990 | Voyager 1099 Installation Utility ' 1-546956297 1/20/2011
and QuickSteps (2010)
Voyager Property Management: 1-548714402 1/20/2011

21: Yardi Systems, Inc. Release Notes

 

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- 71. Through the acts alleged above, Defendants-have violated
Yardi’s exclusive rights to reproduce its copyrighted materials, including materials
covered by the registrations listed above, at least by downloading the materials
from Client Central to Defendants’ own systems in violation of 17 U.S.C. § 106,
without authorization or license.

72. Defendants have also violated the exclusive rights of Yardi to
control the distribution and creation of derivative works from its copyrighted
works in violation of 17 U.S.C. § 106. |

| _ 73. In addition to directly infringing the exclusive rights of Yardi,
Defendants have contributorily and/or vicariously infringed the exclusive rights of
Yardi in its copyrighted materials by controlling, directing, intentionally
encouraging, inducing, or materially contributing to the copying, distribution, or
creation of derivative works from Yardi’s copyrighted materials. Defendants also
obtained a direct financial benefit from the above alleged infringing activities
while declining to exercise their right and ability to stop them or limit them.

74. Defendants knew or should have known that copying,
distributing, and creating derivative works of and from Yardi’s copyrighted
materials on Client Central, infringed the exclusive rights of Yardi in those
materials, including without limitation because of written warnings from Yardi and
copyright notices in the Documentation.

75. Yardi is entitled to damages in an amount to be proven at trial,
including both actual damages and Defendants’ profits attributable to the
infringement pursuant to 17 U.S.C. § 504.

76. Defendants’ infringement of the exclusive rights of Yardi has
also caused Yardi irreparable injury. Unless restrained and enjoined, Defendants
will continue to commit such acts. Yardi’s remedies at law are not adequate to
compensate it for these inflicted and threatened injuries, entitling Yardi to

remedies including injunctive relief as provided by 17 U.S.C. § 502, and an order
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Case 2:11-cv-00690-ODW-JEM Document 1 Filed 01/24/11 Page 23 of 33 Page ID #:32

impounding or destroying any and all infringing materials pursuant to
17 U.S.C. § 503.
FIFTH CLAIM FOR RELIEF
Trade Secret Misappropriation
(Cal. Civ. Code §§ 3426-3426.11)
(Against All Defendants) |

77. Yardi incorporates by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.

| 78. Yardi owns the proprietary and confidential Documentation,
price lists, Credentials, and other information stored on Client Central, as described
above. These materials are a valuable collection of data assembled over many
years that allow Yardi to compete effectively and advantageously, including
because the information is not generally known to others who, if they had access to
the information, could use it to compete against Yardi.

79. Yardi makes reasonable efforts to maintain the confidentiality
of its Documentation, price lists, Credentials, and other information stored on
Client Central, including, without limitation, by (1) restricting access to Client
Central with unique and confidential Credentials, (2) disclosing certain of these
materials only to clients or independent consultants pursuant to licenses or other
contracts with strict confidentiality provisions, (3) prohibiting disclosure of these
materials by employees pursuant to employment agreements and Yardi’s
Employee Handbook, and (4) designating these materials as confidential,
proprietary, copyrighted, and trade secrets. .

80. -Defendants have misappropriated Yardi’s trade secrets by .
means they knew, or had reason to know, were improper. As described in more
detail above, Defendants obtained unauthorized access to confidential Yardi
employee Credentials, logged on to Yardi-employee-restricted portions of Client

Central using those stolen Credentials, then downloaded the trade secret materials
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described above. Defendants had no proper access or permission to acquire these
materials, and could not reasonably have believed they had such permission.

81. Defendants then used and/or disclosed these trade secret
materials without authorization to gain competitive advantage against Yardi,

including to win clients from Yardi, enhance their services to Yardi’s clients, and

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to improve their own, competing software. Defendants knew or had reason to

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know at the time of their use and/or disclosure of Yardi’s trade secret information

8 that Defendants’ knowledge of the information was (1) derived from or through a
9 person who had employed improper means to acquire those trade secrets from

10 Client Central, (2) acquired under circumstances giving rise to a duty to maintain

11 the secrets’ secrecy or to limit their use, including but not limited to using an

12 employee-restricted Credential, and/or (3) derived from or through a person who

13 owed a duty to Yardi to maintain the secrets’ secrecy or limit their use. |

140 82. Yardi has suffered actual losses caused by Defendants’

15 misappropriation of its trade secret information in an amount to be proved at trial.

16 | In addition, Yardi is entitled to the benefits by which Defendants were unjustly

17 enriched by misappropriating Yardi’s trade secret information.

18 83. Defendants’ misappropriation of Yardi’s trade secrets was

19 willful and malicious, entitling Yardi to exemplary damages and its attorneys’ fees

20. and costs.

21 84. Defendants’ misappropriation of Yardi’s trade secrets has also

22 caused Yardi irreparable injury. Unless restrained and enjoined, Defendants will

23 continue to commit such acts. Yardi’s remedies at law are not adequate to

24 compensate it for these inflicted and threatened injuries, entitling Yardi to

25 injunctive relief.

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SIXTH CLAIM FOR RELIEF —
Unfair Competition
(Cal. Bus. & Prof. Code § 17200 ef seq.)
(Against All Defendants)

85. Yardi incorporates by reference each of the allegations in
paragraphs 1 through 63 and 77 through 84 of this Complaint as though fully set
forth here. |

86. Defendants have engaged in unlawful business acts or practices
by committing illegal acts, including computer fraud as alleged above, in an effort -
to gain unfair competitive advantage over Yardi. . -

87. These unlawful business acts or practices were committed
pursuant to business activity related to providing real estate and property
management software and related support and services for that software.

88. The acts and conduct of Defendants constitute fraudulent,
unlawful, and unfair competition as defined by California Business & Professions
Code § 17200 et seq.

89. Defendants’ conduct constitutes violations of numerous state
and federal statutes and codes, including, but not limited to, violations of the
Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq., receipt of stolen
property, California Penal Code § 496, and unauthorized access to computers,
California Penal Code § 502.

90. Defendants have improperly and unlawfully taken commercial
advantage of Yardi’s investments in its trade secret materials. In light of
Defendants’ conduct, it would be inequitable to allow Defendants to retain the
benefit of the funds obtained though the unauthorized and unlawful use of that
property. | .

91. Defendants’ unfair business practices have unjustly minimized

Yardi’s competitive advantages and have caused and are causing Yardi to suffer
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damages.

92. Asaresult of such unfair competition, Yardi has also suffered
irreparable injury and, unless Defendants are enjoined from such unfair
competition, will continue-to suffer irreparable injury, whereby Yardihas no -
adequate remedy at law.

93. Defendants should be compelled to restore any and all money
or property they may have obtained in violation of California Business &
Professions Code § 17200 et seq., and should be enjoined from further unlawful,
unfair, and deceptive business practices.

PRAYER FOR RELIEF

WHEREFORE, Yardi respectfully prays for the following:

A. ° Fora preliminary and permanent injunction restraining .
Defendants, their officers, agents, servants, employees, and attorneys, and those in
active concert or participation with any of them, from the following:

(1) Copying’, accessing, storing, distributing, using,
publicly displaying, or creating derivative works from Yardi’s copyrighted
materials in any way, including for any business purpose, except as otherwise
allowed by express license from Yardi; |

(2) Facilitating any of the acts described in (1) above;

| (3) Engaging in any violations of the Digital
Millennium Copyright Act, including acts that circumvent or facilitate
circumvention of Yardi’s technological measures that control access to its
copyrighted materials, including by accessing Client Central other than as allowed
by express license from Yardi; |

(4) Otherwise engaging in acts of copyright

 

, As used in this Prayer, “copying” includes downloading from a website or
digital storage media.

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infringement, violations of the Computer Fraud and Abuse Act, violations of the
Computer Data Access and Fraud Act, trade secret misappropriation, or unfair
competition; . |

B. ~ For an Order directing Defendants to file with the Court
and serve on Yardi within thirty (30) days after the service on Defendants of such
injunction a report in writing, under oath, setting forth in detail the manner and
form in which Defendants have complied with the injunction;

C. For an Order directing Defendants to return Yardi’s
property, including, without limitation, Yardi’s confidential, proprietary, trade
secret, and copyrighted materials, including data, Documentation and software that
Defendants took from Yardi without authorization, as set forth in this Complaint;

D. For an Order impounding or destroying any and all
infringing materials pursuant to 17 U.S.C. § 503;

E. For an Order impounding or destroying all Credentials
improperly obtained by Defendants pursuant to 17 U.S.C. § 1203;

-F. For damages, including actual damages to Yardi and
Defendants’ profits attributable to their wrongful acts, to be proven at trial;
G. — For statutory damages pursuant to 17 U.S.C. § 1203;

H. For punitive damages;
I. For prejudgment interest;
J..

For an Order awarding Yardi its attorneys’ fees and

costs; and
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-K. For an Order awarding Yardi such other and further relief

‘as the Court deems just and proper.

DATED: January 24, 2011

Bingham . MeCutchen LLP

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@oftrey M. Howard
Attorneys for Plaintiff
Yardi Systems, Inc.

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- DEMAND FOR JURY TRIAL
In accordance with Fed. R. Civ. P. 38(b), Plaintiff Yardi Systems, Inc.
_ demands a trial by jury on all issues triable by a jury.

DATED: January 24, 2011

Bingham McCutchen LLP .

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Sedffrey M. Howard
Attorneys for Plaintiff
Yardi Systems, Inc.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA.

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Otis D. Wright II and the assigned
discovery Magistrate Judge is John E. McDermott.

The case number on all documents filed with the Court should read as follows:

CV11- 690 ODW (JEMx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
_ filed; a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm, G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being retumed to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

 

 
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AO 44D (Rey. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

* for the

Central District of California

Yardi Systems, Inc. , Cla {j nie

 

Company.
Plaintiff , )
Vv. ) Civil Action No.
RealPage, Inc., a Delaware corporation and DC )
Consulting, Inc., a Washington, D.C. corporation )
Defendant )
SUMMONS IN A CIVIL ACTION

To: (Defendant "s name and address)
RealPage, Inc., a Delaware corporation
4000 Intemational Parkway, Carrollton, Texas 75007-1913

DC Consulting, Inc., a Washington, D.C. corporation
1050 Thomas Jefferson Sireet, NW, Sulte 2300, Washington, D.C, 20007

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rulcs of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address arc:

Guoffrey M. Howard (SBN 157468)

Bree Hann (SBN 215695)

Chad Russell (SBN 246046)

Bingham McCutchen LLP

Three Embarcadero Center, San Francisco, California 94111-4067

Ifyou fail to respond, judgment by default will be entered against you [or the reli anded in the complaint.
You also must file your answer or motion with the court.

  
 
 
 

CLERK OF COURT

JAN 2 4 201 . MARILYN DAVIS

Date:
, Sizmutnre af Clerk or Depuly Clerk

 

 
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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT GF CALIFORNIA By En A Ww

 

_ CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself DO). DEFENDANTS
Yardi Systems, Inc, RealPage, Inc. ‘
DC Consulting, Inc.

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing Attomeys (If Known)
yourself, provide same.)
Geoffrey M. Howard (SBN 157468) & Bree Hann (SBN 215695)
Bingham McCutchen LLP, Three Embarcadero Ctr., San Francisco, CA 94111
Telephone: (415) 393-2000; Facsimile: (415) 393-2286

 

 

I. BASIS OF JURISDICTION (Place an X in one box only.) HI. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cascs Only
: . (Place an X in one box for plaintiff and one for defendant.)
010.8. Government Plaintiff wo 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State D1 C1 Incorporated or Principal Place O04 D4
of Business in this State
2U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State O62 2 Incorporated and Principal Place O5 05
of Parties in Item Il) : . Of Business in Another State
Citizen or Subject of a Foreign Country 03 3  Foreign,Nation O6 O6

 

 

IV. ORIGIN (Place an X in one box only.)

w1 Original [2 Removed from [3 Remandedfrom 4 Reinstated or O15 Transferred from another district (specify): 16 Multi- 117 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
: Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes C) No (Check “Yes! only if demanded in cornplaint.}
CLASS ACTION under F.R.CP. 23: 1 Yes No if MONEY DEMANDED IN COMPLAINT: § according to proof

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
copyright infringement/circumvention 17 USC 501 & 1201; computer fraud 18 USC 1030 & Cal. Penal Code 502; state trade secret misappropriation & unfair competition

VII. NATURE OF SUIT (Place an X in one box only.)

 

 
   

    
       

   

 

    
 
   
 
     

 

    

     

 

0 400 "State Reapportionment Insurance DN LIONS? Fair Labor Standards
1410 Antitrust 0120 Marine 1310 Airplane [1510 Motions to Act
0430 Banks and Banking 130 Miller Act C315 Airplane Product Vacate Sentence J11 720 Labor/Mgmt.
191450 Commerce/ICC 1140 Negotiable Instrument Liability — (137) Truth in Lending Habeas Corpus Relations
Rates/etc. 1150 Recovery of 0320 eas Libel & [1380 Other Personal {01530 General 0730 Labor/Mgmt.
0460 Deportation Overpayment & ander \ Property Damage |C1535 Death Penalty Reporting &
2470 Rarketeer Influenced Enforcement of 0330 Fed. Employers [1385 Property Damage }[1540 Mandamus/ Disclosure Act
and Corrupt pudgment 11340 vabilty 8 Product meee 1580 ee 0 _o pallway pabor Act
Organizations {1151 Medicare Act . eee ANGER URL C Yee ivil Rights er Labor
(1480 Consumer Credit (0152 Recovery of Defaulted |" 345 Labi (1422 Appeal 28 USC |01555, Prison Condition, Litigation
£1490 Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 i Empl. Ret. Inc.
0810 Selective Service Veterans) 11355 Motor Vehicle 0423 Withdrawal 28 g i
0850 Securities/Commodities/|D 153 Recovery of Product Liability USC 157 on Agriculture
Exchange Overpayment of (1360 Other Personal : N 41/0620 Other Food &
(11875 Customer Challenge 12 Veteran’s Benefits Injury Drug £1830 Patent
USC 3410 D160 Stockholders’ Suits (362 Personal Injury- {1442 Employment O625 Drug Related o 26 Trademark
0890 Other Statutory Actions [0 190 Other Contract Med Malpractice 1443 Housing/Acco- Seizure of free REE
1891 Agricultural Act 01195 Contract Product 365 Personal Injury- mmodations Property 21 USC Oo 861 HIA (1395ff)
01892 Economic Stabilization Liability Product Liability |(1444 Welfare 881 0 862 Black Lung (923)
Act 1 196 26, Franchise... - _|0368 Asbestos Personal |[1445 American with {(1630 Liquor Laws 0 863 DIWC/DIWW
(1.893 Environmental Matters |& SeEREAT PROPEI a Injury Product Disabilities - 0640 RR. & Truck _ (405(g))
0894 Energy Allocation Act {11210 Land Condemnation ; aM a Employment 0650 Airline Regs 1864 SSID Title XVI
0895 Freedom of Info, Act |(1220 Foreclosure IMMIGRATION ee American with |[1660 Occupational {1 865 RSI (405(g))
(1900 Appeal of Fee Determi- [1230 Rent Lease & Ejectment (462 Naturalization Disabilities - Safety Health |GPEEDERAR TAX SUES aS?
nation Under Equal 1240 Torts to Land Application Other 11690 Other 11870 Taxes (U.S. Plaintiff
Access to Justice (1245 Tort Product Liability }4463 Habeas Corpus- (3440 Other Civil : or Defendant)
12950 Constitutionality of | |(2290 All Other Real Property Alien Detainee | Rights (1871 IRS-Third Party 26
State Statutes 0465 oer Immigration USC 7609
ctions :

 

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number:
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

CV-71 (05/08) CIVIL COVER SHEET Page | of 2

 
Case 2:11-cv-00690-ODW-JEM Document1 Filed 01/24/11 Page 33 of 33 Page ID #:42

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET - '

VHI(s), IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? aNo OYes
If yes, list case number(s):

 

VINi(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes
If yes, list case ber(s):

 

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check al} boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of Jaw and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
O__Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country
Santa Barbara :

 

 

() List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O__Check here if the government, its agencies-of employees is a named defendant. Tf this box is checked, go to item (c). _ .

 

County in;this District:* California County outside of this District; Staté, if other than California; or Foreign Country
Texas and District of Columbia

 

 

(c) List the County in this District; Califormia County outside of this District, State if other than California; or Foreign Country, in which EACH claim arose:
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in.this Diswict:* ; California County outside of this District; State, if other than California; or Foreign Country

 

Santa Barbara and Los Angeles , Texas, District of Columbia, Oregon and Oklahoma

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San 4 OPispo Counties

Note: In land condemnation cases, use the Jecation of the tract of land involved 7 f
X, SIGNATURE OF ATTORNEY (OR PRO PER): At V1 (4 M4 my Date e7-
Notice to Counsel/Parties: The CV-71 (QS-44) Civil scoverree ind the information:contained herein neither replace nor supplement the filmg and service of pleadings

or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet, (For more detailed instructions, see s¢parate instructions sheet.)

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 MIA All claims for bealth insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. {42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefi ts under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWwC All claims filéd by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID _ All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Sccurity
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended, (42
U.S.C. ())

 

CV-71 (05/08) . ’ CIVIL COVER SHEET Page 2 of 2

 
